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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


STEVEN BELT, et al.,                          :
          Plaintiffs.                         :         CIVIL ACTION
                                              :         No. 18-3831
               v.                             :
                                              :
P.F. CHANG’S CHINA BISTRO,                    :
INC.,                                         :
           Defendant.                         :


                                         ORDER


       AND NOW, this _15th __ day of August, 2019, it is ORDERED that:


   •   Defendant’s Motion for Summary Judgment (construed as a Motion for Judgment on the

       Pleadings) (ECF No. 37) is DENIED.

   •   The parties must submit a proposed joint scheduling order on or before August 30,

       2019.

                                          s/Anita B. Brody
                                          ____________________________________
                                          ANITA B. BRODY, J.


Copies VIA ECF on 8/15/2019
